     Case 1:21-cv-04527-MHC-RDC Document 18 Filed 06/06/22 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


JOSEPH DIBENEDETTO,

       Plaintiff,
                                               CIVIL ACTION FILE
V.                                             NO. 1:21-CV-4527-MHC-RDC


AT&T SERVICES, INC.,

       Defendant.



                                      ORDER

      This matter is before the Court on the Non-Final Report and


Recommendation ( R&R ) of the Magistrate Judge [Doc. 15] recommending that

Defendants' Motion to Dismiss Plaintiffs Complaint [Doc. 4] be denied. The

Order for Semce of the Final R&R [Doc. 16] provided notice that, in accordance

with 28 U.S.C. § 636(b)(l), the parties were authorized to file objections within

fourteen (14) days of the receipt of that Order. No objections have been filed to the

R&R within the time permitted.

      Absent objection, the district court judge "may accept, reject, or modify, in


whole or in part, the findings or recommendations made by the magistrate judge."


28 U.S.C. § 636(b)(l). Based upon the absence of objections to the R&R, in
    Case 1:21-cv-04527-MHC-RDC Document 18 Filed 06/06/22 Page 2 of 2




accordance with 28 U.S.C. § 636(b)(l), the Court has reviewed the R&R for plain

error. See United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983). The Court

finds no plain error and that the R&R is supported by law.

      The Court APPROVES AND ADOPTS the Non-Final Report and

Recommendation [Doc. 15] as the Opinion and Order of the Court. It is hereby

ORDERED that Defendants' Motion to Dismiss Plaintiffs Complaint [Doc. 4] is

DENIED.

      IT IS SO ORDERED this 6th day of June, 2022.




                                      MARK H. COHEN
                                      United States District Judge
